         Case 1:19-cv-02848-JEB Document 87 Filed 09/27/24 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  ROSE, JR., et al.,

               Plaintiffs,


                 v.                                    Civil Action No. 1:19-cv-2848 (JEB)

  XAVIER BECERRA, et al.,

                             Defendants.


 FEDERAL DEFENDANTS’ RESPONSE TO INTERVENOR-DEFENDANT INDIANA
          FAMILY AND SOCIAL SERVICES ADMINISTRATION’S
             MOTION TO MODIFY STAY PENDING APPEAL

       This Court’s June 27, 2024 Order granted Plaintiffs’ motion for summary judgment, entered

judgment on Count I of the operative Supplemental Complaint, vacated the Secretary’s 2020

approval of the Healthy Indiana Plan 2.0 (“HIP”), and remanded the matter to the agency for

further proceedings. ECF No. 67. After seeking and obtaining an order as to Count I under Federal

Rule of Procedure 54(b), see ECF No. 71, Intervenor-Defendant Indiana Family and Social

Services Administration filed a notice of appeal and a motion for a stay pending that appeal. See

ECF Nos. 72, 73. The Federal Defendants took no position on that motion. ECF No. 77. In doing

so, the Federal Defendants allowed Indiana to protect its own interests in avoiding any harmful

effects the vacatur might impose on the State while it exercised whatever appellate rights it

possessed as to the underlying order. Eventually, the parties agreed on a stay of the Court’s

vacatur, “except for those portions related to payment or non-payment of POWER account

contributions, pending resolution of the appeal, issuance of the mandate, and disposition of any

timely filed petition for certiorari.” ECF No. 83. Outside of any waivers related to Medicaid’s

limitations on premium requirements, that limited stay generally authorized Indiana to operate HIP
          Case 1:19-cv-02848-JEB Document 87 Filed 09/27/24 Page 2 of 3




pursuant to the Secretary’s 2020 approval while Indiana sought appellate review. Indiana now

suggests that the limited nature of the stay pending appeal somehow “poses an obstacle to appellate

review” because it did not also stay the remand. See ECF No. 84 at 4.

       Altering the scope of the Court’s stay pending appeal, however, would not affect appellate

jurisdiction over the underlying order from which the appeal was taken. The “purpose” of a “stay

pending appeal” is “to maintain the status quo pending a final determination of the merits of the

suit.” Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 844 (D.C. Cir.

1977). Such a motion seeks to avoid irreparable harm a district court’s order might impose on the

losing party should that party prevail on appeal. That is why a court considering stay motions must

consider both the movant’s likelihood of success on the merits of their appeal and the possibility

of irreparable injury to the moving party if relief is withheld. Id. But the stay order itself does not

expand appellate jurisdiction. See United States v. Philip Morris Inc., 314 F.3d 612, 622 (D.C.

Cir. 2003) (considering whether court had appellate jurisdiction over order appealed from before

considering whether stay was warranted), abrogated on other grounds, Mohawk Indus., Inc. v.

Carpenter, 558 U.S. 100 (2009). Indeed, one reason a party may be unable to obtain a stay pending

appeal is that they are unlikely to succeed on the merits of their appeal because no appellate

jurisdiction exists. Chen v. FBI, No. 18-cv-3074, 2023 WL 6461011, at *3 (D.D.C. Sept. 6, 2023)

(denying stay pending appeal because party had “scant prospect of success . . . given that the

Circuit will likely not reach the merits due to the jurisdictional defects” of appealing interlocutory

order); cf. Elec. Priv. Info. Ctr. v. Dep’t of Commerce, 928 F.3d 95, 104 (D.C. Cir. 2019) (“The

merits on which plaintiff must show a likelihood of success [to obtain a preliminary injunction]

encompass not only substantive theories but also establishment of jurisdiction.” (cleaned up)). It




                                                  2
          Case 1:19-cv-02848-JEB Document 87 Filed 09/27/24 Page 3 of 3




is the finality of the underlying judgment that creates appellate jurisdiction, not the subsequent

request to stay that judgment. See 28 U.S.C. § 1291.

       Ultimately, the Court of Appeals will decide whether it has appellate jurisdiction over this

Court’s vacatur and remand order; this Court need not wade into that thicket here.

       Nevertheless, the other parties in this action have proposed modifications to the scope or

duration of the Court’s stay to prevent the disruptive effects of vacatur during any appeal or

remand. See ECF No. 84 at 6 (asking the Court to “stay the remand to the agency”); ECF No. 85

at 4–5 (proposing continuation of stay during the pendency of any remand proceedings). The

Federal Defendants have no objection to the Plaintiffs’ proposal to continue the agreed stay during

the pendency of any remand, which would avoid many of the “disruptive consequences of vacatur

of the HIP demonstration approval at this late stage.” See ECF No. 56 at 42. The Federal

Defendants take no position on Intervenor-Defendant’s proposal to stay the remand.



Dated: September 27, 2024                    Respectfully submitted,

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